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             EXHIBIT 11
       TO THE DECLARATION OF
         RONALD J. MARTINEZ
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                                             PRIVATE AND CONFIDENTIAL




February 4, 2019

Smith & Wesson Corporation.
c/o Alan Schutzman, Esq.
Associate General Counsel                                                                                         Grant Thornton LLP
American Outdoor Brands Corporation                                                                               757 Third Avenue, 9th FL
2100 Roosevelt Avenue                                                                                             New York, NY 10017
                                                                                                                  T 212.542.9725
Springfield, MA 01104                                                                                             F 212.370.4520
                                                                                                                  www.GrantThornton.com


Gemini Technologies, Incorporated
c/o Kim J. Trout, Esq.
Trout Law, PLLC
3778 N. Plantation River Dr., Ste. 101
Boise, ID 83703

Re: Appointment of Settlement Accountants pursuant to Section 1.5(b) of the Asset Purchase
Agreement by and among Smith & Wesson Corp., Gemini Technologies, Inc., and the Stockholders
named therein dated June 29, 2017 (the "Contract")


Dear Sirs:

Pursuant to the Engagement Letter dated August 14, 2018 documenting the understanding among and between
Smith & Wesson Corporation (the "Buyer" or “Smith & Wesson”) and Gemini Technologies Incorporated (the
"Seller" or “Company” or “Gemtech”),1 and Grant Thornton LLP ("Grant Thornton"), Grant Thornton was
appointed as the Settlement Accountants with respect to a dispute arising under Section 1.5(b) of the Contract
in connection with Buyer’s acquisition of the assets of the Company.2

Background

The Buyer and Seller entered into the Contract with a closing date of August 7, 2017 (the “Closing Date”)3
whereby the Buyer acquired the assets of the Company (the “Transaction”). The Contract provides that the
consideration for the Transaction (the “Purchase Price”) is to include an adjustment for Working Capital.4




1 Buyer and Seller are together referred to as the “Disputing Parties.”
2 Capitalized Terms used herein are as defined in the Engagement Letter and Contract unless otherwise stated.
3 Engagement Letter, Attachment B
4 Contract, §1.2
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Section 1.4 of the Contract states that, no later than 60 days after the Closing Date, Buyer will prepare and
deliver to Seller its proposed calculation of Working Capital as part of the Buyer’s Report.5 Seller agreed to
provide Buyer with an extension of this deadline,6 and Buyer prepared and delivered Buyer’s Report to Seller on
October 20, 2017.7

The Contract further provides that no later than 30 days after receiving Buyer’s Report, Seller may prepare and
deliver to Buyer its proposed calculation of Working Capital as part of the Company’s Report.8 Buyer agreed to
provide Seller with an extension of this deadline,9 and Seller prepared and delivered the Company’s Report to
Buyer on December 4, 2017.10

Pursuant to Section 1.5(a) of the Contract, Buyer may give notice to Seller of any dispute related to Company’s
Report within 30 days after the date of the Company’s Report.11 Buyer provided the Seller with its objections to
the calculation of Working Capital included in the Company’s Report on January 2, 2018 and provided further
objections and additional calculations of Working Capital on January 18, 2018 (the “January 18th Letter”).12

The Buyer and Seller have not been able to agree on the resolution of all of the Disputed Items,13 so pursuant
to Section 1.5(b) of the Contract, the Disputing Parties agreed to submit the dispute to Grant Thornton as the
Settlement Accountants, for resolution in accordance with the terms of the Contract and the Engagement
Letter, and the Disputing Parties appointed me, Charles Blank, to act in this role. Accordingly, this letter sets
forth my determination of the Disputed Items submitted to me for resolution.

Relevant Defined Terms

Relevant defined terms per the Contract are included in Appendix A to this determination letter.




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5 Contract, §1.4
6 Seller’s Opening Submission, pg. 3
7 Appendix B to Seller’s Opening Submission
8 Contract, §1.5(a)
9 Seller’s Opening Submission, pg. 3
10 Appendix C to Seller’s Opening Submission
11 Contract, §1.5(a)
12 Engagement Letter, Attachment B
13 The Disputed Items submitted for resolution by Grant Thornton are included on Attachment B of the Engagement Letter.
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 I.        DISPUTED ITEMS

      The Buyer and Seller have identified the following Disputed Items:14

      Summary of Disputed Items

                                                                           Disputed            Buyer                Add'l Disputed
                                                                                                                                     Total Disputed
                                      Seller        Buyer                   Amount            Updated                   Amount
                                                                                                                                        Amount
      Disputed Item                                                      (Jan. 2, 2018)       Amount                 (Jan. 18, 2018)

      Eval / Demo Suppressors       $ 146,158     $ 109,618     (1.a.) $      (36,539)    $      109,618            $           -      $      (36,539)
      Suppressors for Sale            1,094,665      960,633    (1.b.)       (134,032)           996,909   (3.a.)            36,277           (97,755)
      Stillwood Ammunition             137,996        35,852    (1.c.)       (102,144)            76,452   (3.b.)            40,600           (61,544)
      Parts & Pieces Inventory         168,946           -        (2)        (168,946)               -                          -            (168,946)
      Eagle 22 LR Ammunition               -             -                        -                3,657   (3.c.)             3,657            3,657
      Accessories                      879,156       879,156                      -              889,656   (3.d.)            10,500            10,500
      Net Accounts Receivable         1,075,488     1,075,488                     -              837,729   (3.e.)          (237,759)        (237,759)

      Total:                        $ 3,502,408 $ 3,060,747               $ (441,661)     $    2,914,021            $      (146,726) $      (588,387)


      Sources:
      - Engagement Letter, Attachment B
      - Appendix C to Seller's Opening Submission
      - Exhibit 4 to Buyer's Opening Submission




II.        INFORMATION RECEIVED AND CONSIDERED
      The following information was received and considered by me in arriving at my determination:

      September 7, 2018              Submission and exhibits by Seller
                                     (“Seller’s Opening Submission”)
      September 20, 2018             Submissions and exhibits by Buyer
                                     (“Buyer’s Opening Submission”)
      October 22, 2018               Rebuttal submissions and exhibits by Seller
                                     (“Seller’s Rebuttal Submission”)
      October 22, 2018               Rebuttal submissions and exhibits by Buyer
                                     (“Buyer’s Rebuttal Submission”)


      14 Amounts presented under the “Seller” and “Buyer” columns represent the total amount of inventory that each party asserts should be

      included in final Working Capital related to each disputed category of inventory. Amounts presented under the “Disputed Amount”
      column represent the difference in the parties’ proposed calculation of each disputed category of inventory (i.e., Buyer’s calculation of
      inventory, a component of Working Capital, is lower than Seller’s calculation of inventory for each disputed category of inventory).
      Additionally, Attachment B to the Engagement Letter identifies two issues for resolution by the Settlement Accountants: 1) “What is the
      correct closing date Working Capital and Purchase Price adjustment as provided in the APA?” and 2) “Whether the APA precludes
      Buyer from supplementing its closing date Working Capital calculation and, if not, whether the various elements of the supplemental
      calculation in the sum of $146,725.98 were correct?” Item 1 is summarized in the column entitled “Disputed Amount (Jan. 2, 2018)” and
      Item 2 is summarized in the column entitled “Add’l Disputed Amount (Jan. 18, 2018)”.
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       November 30, 2018              Submission of responses to the Settlement Accountants’ questions and request for
                                      further documentation by Seller dated November 5, 2018 (“Seller’s Response to the
                                      Settlement Accountants’ First Information Requests”)

       November 30, 2018              Submission of responses to the Settlement Accountants’ questions and request for
                                      further documentation by Buyer dated November 5, 2018 (“Buyer’s Response to the
                                      Settlement Accountants’ First Information Requests”)

       December 4, 2018               Correspondence from Buyer relating to Seller’s Response to the Settlement
                                      Accountants’ First Information Requests (“Buyer’s December 4th Correspondence”)

       December 21, 2018              Submission of responses to the Settlement Accountants’ additional questions and
                                      request for further documentation by Seller dated December 7, 2018 (“Seller’s
                                      Response to the Settlement Accountants’ Second Information Requests”)

       December 20, 2018              Submission of responses to the Settlement Accountants’ additional questions and
                                      request for further documentation by Buyer dated December 7, 2018 (“Buyer’s
                                      Response to the Settlement Accountants’ Second Information Requests”)

       December 26, 2018              Correspondence from Seller relating to Buyer’s Response to the Settlement
                                      Accountants’ Second Information Requests (“Seller’s December 26th
                                      Correspondence”)

       December 26, 2018              Correspondence from Buyer responding to Seller’s December 26th Correspondence
                                      (“Buyer’s December 26th Correspondence”)



III.        SETTLEMENT ACCOUNTANTS DETERMINATION OF THE DISPUTED ITEMS

       1. Inventory Valuation: Eval/Demo Suppressors, Suppressors for Sale, Stillwood Ammunition

       This Disputed Item relates to whether an adjustment to the carrying value of inventory for Eval/Demo
       Suppressors, Suppressors for Sale and Stillwood Ammunition (the “Inventory Valuation Adjustment”) in the
       amount of $272,716 should be included in the calculation of Working Capital. Buyer asserts that the
       Company’s15 inventory was not stated at the lower of cost or market in accordance with GAAP, and additional
       reserves were required to record this inventory in accordance with GAAP.16 Seller asserts that the Company’s
       inventory accounting as of the Closing Date is consistent with its past practices and GAAP, and therefore in
       accordance with the Contract.17 The positions of each Disputing Party are summarized below:18




       15 In the context of calculations and practices in the pre-Closing period, references to “the Company” in this determination letter relate

       to Gemini Technologies, Incorporated. Likewise, references to the “Acquired Business” in this determination letter means the acquired
       assets of Gemini Technologies, Incorporated in the period after the Closing Date.
       16 Exhibit 1 to Buyer’s Opening Submission, pg. 2
       17 Seller’s Opening Submission, pg. 13
       18 Amounts presented in the table below represent each of the Disputing Parties positions on the net carrying value of inventory

       organized by Buyer’s classifications (i.e., Eval/Demo Suppressors, Suppressors for Sale, and Stillwood Ammunition) that each party
       asserts should be recorded as of the Closing Date. These amounts do not include Buyer’s additional adjustments asserted on January 18,
       2018 (which are discussed in Disputed Item # 3 of this determination letter).
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                                             Disputed Item #1: Inventory Valuation

                                                                     Seller's       Buyer's        Disputed
                         Disputed Item                               Position       Position       Amount

                          1.a. Eval / Demo Suppressors $ 146,158 $ 109,618 $ (36,539)
                          1.b. Suppressors for Sale     1,094,665    960,633   (134,032)
                          1.c. Stillwood Ammunition       137,996     35,852   (102,144)
                         Total Disputed Amount         $1,378,818 $1,106,102 $ (272,716)

                         Notes:
                         Negative amounts presented under Disputed Amount represent the amount of
                         Buyer's proposed decrease to Working Capital. Positive amounts presented
                         under Disputed Amount represent the amount of Buyer's proposed increase to
                         Working Capital.


Seller’s Position19

Seller argues that the Buyer’s Inventory Valuation Adjustment should not be included in the determination of
Working Capital, in part, based on the following:

•    Eval/Demo Suppressors:
        o Historically, the Company did not set reserves on its inventory20 because inventory was recorded at
           cost, and the Company would never sell an item below its cost.21 Further, Seller asserts that the
           Company historically would either destroy damaged inventory or send it back to the vendor, but
           would not keep damaged inventory its books.22 Therefore, consistent with past practice, the
           Company recorded used items at their acquisition cost in Working Capital as calculated in
           Company’s Report, and did not consider worn or damaged items because Seller believes they did
           not exist. Seller therefore believes the Company complied with GAAP by listing the book value at
           the lower of cost or market.23
        o Buyer’s Report added inventory reserves to the amounts included in Company’s Report, thereby
           reducing the net inventory value of the Eval/Demo Suppressors by 25% (an adjustment of
           $36,539). Seller states that Buyer failed to perform any detailed lower of cost or net realizable value
           analysis according to GAAP and assumes a “flat discount” of 25% should be applied based only on
           internal procedures.24

•    Suppressors for Sale:
        o Consistent with how the Company accounted for Eval/Demo Suppressors, the Company did not
            set reserves on its inventory historically25 or in Working Capital included in the Company’s Report.



19 Neither here nor elsewhere in this determination letter do I represent to provide either the Seller’s or the Buyer’s complete position.

Rather, a summary is provided solely to provide general context.
20 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 3
21 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 5
22 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 2
23 Seller’s Response to the Settlement Accountants’ First Information Requests, pgs. 4 – 5
24 Seller’s Opening Submission, pg. 7
25 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 3
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               Seller believes the Company complied with GAAP by listing the book value at the lower of cost or
               market.26
          o    Buyer’s Report added inventory reserves to the amounts included in Company’s Report, thereby
               reducing the net inventory value of 1,081 inventory items by 25%, 69 R&D inventory items by
               50%, and 228 inventory items which were reduced to their “garage sale price” based on the
               judgment of Gemtech employees.27 While Seller accepted $98,584 of Buyer’s adjustments,28 Seller
               objects to $134,032 of Buyer’s adjustment and states that Buyer never performed an analysis to
               determine what the net realizable value of this inventory is.29 Buyer subsequently proposed an
               additional upward adjustment of $36,277 to this inventory in its January 18th Letter, resulting in a
               net disputed amount of $97,755.

•    Stillwood Ammunition:
          o Historically, the Company would ship raw materials to third-party manufacturers such as
             Stillwood,30 and pay those third parties for the cost of the finished good. The actual cost of the
             finished goods that was paid to manufacturers would be recorded on the Company’s books
             without a reserve.31 Therefore, as of the Closing Date, there were no inventory reserves included in
             Working Capital as calculated in Company’s Report.32
          o Buyer’s Report included inventory reserves reducing the net inventory balances for Stillwood
             Brass, Packaging, Powder, Projectiles, 187gr 300 BLK (the “Stillwood Inventory”) included in
             Company’s Report by a total of $165,155. Of this amount, Seller accepted $63,011, therefore
             resulting in a net disputed amount of $102,144. Buyer’s adjustment solely relied on discussion with
             the President of Stillwood and Buyer did not further investigate the detail behind this adjustment.
             Further, no explanation was provided for this adjustment.33

Buyer’s Position

Buyer argues that the Buyer’s Inventory Valuation Adjustment should be included in the determination of
Working Capital, in part, based on the following:

•    Eval/Demo Suppressors:
        o Historically, the Company did not establish reserves on Eval/Demo Suppressor inventory,34 and as
           of the Closing Date, this inventory was recorded at its full cost.35 Upon physical inspection, Buyer
           observed that these items were used36 and could not be sold at cost as new products to a third
           party. Therefore, Buyer decreased the inventory balance by its best estimate of the reserve that was
           needed to bring the inventory to the lower of cost or market.37




26 Seller’s Response to the Settlement Accountants’ First Information Requests, pgs. 4 – 5
27 Seller’s Opening Submission, pgs. 9 – 10
28 Seller’s Opening Submission, pg. 10
29 Seller’s Opening Submission, pg. 8
30 “Stillwood” refers to Stillwood Ammunition Systems.
31 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 6
32 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 5
33 Seller’s Opening Submission, pg. 11 – 12
34 Buyer’s Response to the Settlement Accountants’ First Information Requests, pg. 2
35 Buyer’s Opening Submission, pg. 4
36 Buyer’s Response to the Settlement Accountants’ First Information Requests, pg. 2
37 Buyer’s Opening Submission, pg. 2
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             o   Buyer states that it based its reserve estimates for this inventory on its extensive experience in
                 valuing used firearms inventory at Smith & Wesson,38 as well as a visual inspection of each item of
                 inventory when performing the opening serial number inventory.39

•        Suppressors for Sale:
            o Historically, the Company did not establish reserves on Suppressors for Sale inventory,40 and as of
                the Closing Date, this inventory was recorded at its full cost.41 Upon physical inspection, Buyer
                observed that these items were used and could not be sold at cost.42 Therefore, Buyer decreased
                the inventory balance by its best estimate of the reserve that was needed to bring the inventory to
                the lower of cost or market.43
            o Buyer states that it based its reserve estimates for this inventory on its extensive experience in
                valuing used firearms inventory at Smith & Wesson,44 as well as a visual inspection of each item of
                inventory when performing the opening serial number inventory.45

•        Stillwood Ammunition:
              o Historically, the Company did not apply reserves to inventory held at Stillwood.46 Buyer applied
                 additional reserves of $102,14447 to Stillwood inventory to bring the value of this inventory to the
                 lower of cost or market.48 Buyer later proposed an additional upward adjustment49 to inventory of
                 $40,600 in its January 18th Letter (resulting in a net disputed amount of $61,544), which was based
                 on third-party information provided by the President of Stillwood. Buyer’s adjustments correct for
                 quantity differences of brass inventory as well as valuation issues of brass and projectiles located at
                 Stillwood Ammunition.50
              o Further, Buyer does not expect to get any benefit out of this inventory because Mr. Kratky
                 indicated the casings were compromised, and he does not believe they are safe to load. This
                 ammunition remains at Stillwood and will not be used to manufacture any ammunition in the
                 future.51


Settlement Accountants’ Determination

I partially find in favor of Buyer that $52,193 of the Inventory Valuation Adjustment should be included in the
calculation of Working Capital as part of the Purchase Price. I partially find in favor of Seller that $220,523 of
the Inventory Valuation Adjustment should be included in the calculation of Working Capital as part of the
Purchase Price.

My determination is summarized as follows:


38 Buyer’s Rebuttal Submission, pg. 2
39 Buyer’s Response to the Settlement Accountants’ First Information Requests, pg. 2
40 Id.
41 Buyer’s Opening Submission, pg. 4
42 Buyer’s Rebuttal Submission, pg. 2
43 Buyer’s Opening Submission, pg. 2
44 Buyer’s Rebuttal Submission, pg. 2
45 Buyer’s Response to the Settlement Accountants’ First Information Requests, pg. 2
46 Buyer’s Response to the Settlement Accountants’ First Information Requests, pg. 4
47 Buyer’s Report originally proposed reserves of $165,155, of which Seller accepted $63,011 in the Company’s Report, resulting a net

disputed amount of $102,144.
48 Buyer’s Opening Submission, pg. 3
49 This additional amount is discussed as part of Disputed Item 3 (See page 14).
50 Buyer’s Opening Submission, pg. 2
51 Buyer’s Response to the Settlement Accountants’ First Information Requests, pgs. 3 – 4
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                                               Disputed Item #1: Inventory Valuation

                                                                                     Disputed In Favor In Favor
               Disputed Item                                                         Amount of Seller of Buyer

                 1.a. / 1.b. Eval / Demo Suppressors & Suppressors for Sale             $(170,571) $(128,032) $ (42,539)
                 1.c. Stillwood Ammunition                                               (102,144)   (92,490)    (9,654)
               Settlement Accountants' Determination                                    $(272,716) $(220,523) $ (52,193)



In making my determination, I first considered the requirements of Section 1.4 of the Contract which states
that the Closing Date Balance Sheet and Buyer’s Report will include a calculation of “actual Working Capital,”
which is included in determining the Purchase Price. “Working Capital” is defined in the Contract, in relevant
part, as:

...the remainder, if any, of (i) the Company’s accounts receivable and inventory, minus (ii) the Company’s accounts payable, in each
case calculated on a basis consistent with the methodologies used for the calculation of working capital as of December 31, 2016 as
set forth on Schedule 10.27”52

Additionally, I observed that Section 3.8(d) of the Contract states that “Except as otherwise set forth in Schedule
3.8(d), the Company’s Inventory is valued on the Company’s books of account in accordance with GAAP (on an average cost
basis) at the lower of cost or market, and the value of obsolete materials, materials below standard quality, and slow-moving
materials have been written down in accordance with GAAP.”53

As such, I found that Working Capital, which includes Inventory, is required to be calculated:
        (1) including only the Company’s accounts receivable and inventory minus accounts payable
        (2) in a manner consistent with the methodologies applied as of December 31, 2016, and;
        (3) in accordance with GAAP, with inventory recorded at the lower of cost or market.

Therefore, I evaluated whether the Disputed Item met the above criteria as follows:

Step 1 – Includes only Accounts Receivable, Inventory and Accounts Payable
The Inventory Valuation Adjustment relates to the accounting for inventory including inventory reserves,
which are presented net within inventory. The definition of Working Capital includes inventory. As such, I
found that the Inventory Valuation Adjustment is included in the definition of Working Capital and therefore
meets the first criteria of the Contract, above.

Step 2 – Consistent with methodologies as applied at December 31, 2016
I then evaluated whether the Inventory Valuation Adjustment met the next part of the definition of Working
Capital (i.e., Part 2 per the Working Capital requirements above). In making my evaluation of whether this
criterion was met, I first considered what methodologies were applied by the Company in the calculation of the
inventory reserves as of December 31, 2016. While Seller states that the Company did not have formal
documented accounting policies for measurement of inventory, they assert the Company always listed items in
inventory at the lower of cost or market.54 Further, Seller indicates that the Company did not historically
include a reserve for damaged or used inventory because damaged inventory could not be sold and was not kept
on the books, and used inventory was sold to employees above cost.55 I observed that the Company’s inventory
recorded as of December 31, 2016 did not include reserves, which is consistent with its stated historical

52 Contract, §10.27
53 Schedule 3.8(d) to the Contract did not note any exceptions to Section 3.8 to the Contract.
54 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 2
55 Id.
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practice, and the inventory included in the Company’s calculation of Working Capital included in the
Company’s Report, also did not include reserves. Therefore, I found that Company followed its methodologies
as of December 31, 2016 in its preparation of Closing Date inventory included in the Company’s Report.

Step 3 – In accordance with GAAP at the lower of cost market
In order to evaluate whether the Company’s December 31, 2016 methodology (applied as of the Closing Date)
for measuring inventory was consistent with GAAP, I first considered the applicable GAAP guidance with
respect to recognition and measurement of inventory reserves. I found that ASC 330 Inventory is the relevant
guidance. In particular, ASC 330-10-35-156 states that “A departure from the cost basis of pricing the inventory is required
when the utility of the goods is no longer as great as their cost. Where there is evidence that the utility of goods, in their disposal in
the ordinary course of business, will be less than cost, whether due to physical deterioration, obsolescence, changes in price levels, or
other causes, the difference shall be recognized as a loss of the current period. This is generally accomplished by stating such goods at
a lower level commonly designated as market.”57

“Market” is defined in GAAP as “current replacement cost (by purchase or reproduction, as the case may be) provided that it
meets both of the following conditions: (a) market shall not exceed the net realizable value, and (b) market shall not be less than the
net realizable value reduced by an allowance for an approximately normal profit margin.”58 For purposes of my review of the
Disputing Parties’ positions in this determination letter, I have considered “net realizable value” to be the
appropriate measure of utility of inventory per ASC 330-10-35-4.59 Further, I considered estimated sales value
to be the appropriate measure of net realizable value given that neither party indicated that current replacement
cost was lower than the estimated sales value of inventory.

Per the above, I found that the relevant GAAP guidance that inventory is to be measured at the net realizable
value when evidence exists that the net realizable value of inventory is lower than cost.

I then evaluated whether the measurement of each category of inventory included in the Inventory Valuation
Adjustment as of the Closing Date was at net realizable value given the evidence presented to me, as required
by ASC 330 above. My evaluation for each category of inventory is discussed below.

Eval/Demo Suppressors (1.a.) & Suppressors for Sale (1.b.)
For Eval/ Demo Suppressors and Suppressors for Sale inventory, I considered the analyses put forward by
Seller’s expert and Buyer supporting their respective positions as to the valuation of inventory in accordance
with GAAP. In its Opening Submission, Seller’s expert provided an analysis of historical sales data, in which
Seller’s expert opined that the sales evidence for items tested demonstrated that those items have a greater net
realizable value than their cost and a reduction in value is not warranted.60 While the analysis by Seller’s expert
demonstrated that historical sales of items tested were predominantly above cost,61 I found that this analysis
had several limitations, including:
       1. The historical data reviewed by Seller’s expert likely would have related to inventory items that were
           not used or worn, which is not comparable to the condition of items Buyer is seeking a reserve for;


56 ASC 330-10-35-1 was amended by ASU 2015-11 (July 2015), which was effective for private companies in fiscal years beginning after

December 15, 2016 and interim periods within fiscal years beginning after December 15, 2017. As the Closing Date was within a fiscal
year beginning before December 15, 2017, I have referred to the version ASC 330 that was applicable prior to ASU 2015-11.
57 ASC 330-10-35-1
58 See “Market” in FASB Master Glossary
59 ASC 330-10-35-4 states “Replacement or reproduction prices would not be an appropriate measure of utility when the estimated sales

value, reduced by costs of completion and disposal, is lower, in which case the realizable value so determined more appropriately
measures utility.”
60 Seller’s Opening Submission, pgs. 9 - 10
61 For the 25% reserve population, 312 of 313 items tested sold above cost. For the 50% reserve population, 23 of 23 items tested sold

above cost. For the garage sale inventory population, 165 of 184 items sold above cost.
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       2. Seller was only provided with sales information for 520 inventory items,62 which only comprises
          approximately 38% of the items Buyer placed a reserve on;
       3. Seller’s expert did not analyze the age of the inventory for which Buyer seeks a reserve for, although
          this information appears to have been available to Seller’s expert.63

For these reasons, I found that Seller’s expert’s analysis did not sufficiently support its assertion that the net
realizable value of this inventory was at or above cost. Further, I observed that a portion of the garage sale
inventory sold below cost in Seller’s expert’s analysis64, and that the age of the inventory in Buyer’s reserve
population appeared to be significantly older than inventory for which no reserve was proposed by Buyer.65
These factors were indicators that the net realizable value of this inventory may be lower than its cost as of the
Closing Date.

Accordingly, I next considered Buyer’s position that the net realizable value of inventory included in the
Inventory Valuation Adjustment was less than cost as of the Closing Date. I found that while Buyer
appropriately considered whether the carrying value of used inventory was impaired as of Closing Date based
on physical inspection, I did not find that Buyer provided compelling evidence how the reserve percentages
historically applied by Smith & Wesson were applicable to the inventory being valued.66

However, I found that Buyer’s analysis of subsequent losses67 on this inventory shortly after the Closing Date
provided an indication of its net realizable value as of the Closing Date, and information known or knowable68
prior to the date Buyer’s Report was prepared should be considered when measuring inventory as of the
Closing Date.69 As such, I considered the subsequent losses on inventory to be a reasonable measure of the
required reserves on this inventory to the extent that the loss had occurred or was knowable prior to October
20, 2017 (the date Buyer’s Report was prepared). I found that Buyer provided sufficient evidence to support
that $42,539 in additional reserves should be included in order to comply with GAAP. This amount is
comprised of:70


62 Seller indicated in its Opening Submission that it was provided sales information for 313 items that were reduced by 25% (pg. 9), 23

items that were reduced by 50% (pg. 10), and 184 items that were reduced to garage sale prices (pg. 10) (313 + 23 + 184 = 520).
63 Seller’s Response to Settlement Accountants’ First Information Requests, pg. 3
64 9 items out of 184 items tested sold below cost (approximately 5%), and 10 items sold at cost (approximately 5%).
65 Seller states on page 3 of its Response to the Settlement Accountants’ First Information Requests that “If it is a Gemtech item, the

serial number is a three-digit code followed by five or six additional digits (i.e. S10-40243A, or S15-90321). The year the silencer was
manufactured by Gemtech is the number immediately preceding [sic] the “S” in the serial number.” As such, I reviewed the age of the
inventory that Buyer had proposed reserves for and the age of the inventory that Buyer did not propose reserves for. Excluding
inventory that did not have the serial number syntax described above by Gemtech, I found that 97% of the inventory in the non-
reserved population was manufactured in the last five years (i.e., 2013-2017), but only 66% of the reserved inventory was manufactured
within the last five years. As the reserved population of inventory appeared to be older than the non-reserved population, I found that
this was an indicator that the reserved inventory was not selling as quickly as other inventory and therefore may have quality issues.
66 Buyer used its internal reserve percentages of 25%, 50% and “garage sale” to establish reserves on this inventory.
67 This analysis was provided in Schedule 3 to Buyer’s Rebuttal Submission, in which Buyer calculated a total of $165,185 in additional

losses incurred subsequent to the Closing Date.
68 I considered a loss on destroyed items to be known or knowable on the date they were destroyed. For “garage sale” items sold at a

loss, I found that the loss was known or knowable on the date of Buyer’s Report as the Company’s former compliance auditor and other
engineering employees were able to estimate sales prices on an item-by-item basis in the file “Request 8(c) Copy of Garage Sale 10-18-17
COPY for WC.xlsx”, and I also noted that the majority of these items that were ultimately sold (as included in the file “Request 4 (a)
Copy of Gemtech Inventory Working Capital – GT File v4.xlsx”) sold for the price that was estimated by the Company’s employees in
“Request 8(c) Copy of Garage Sale 10-18-17 COPY for WC.xlsx.” Therefore, I found that the prices of the garage sale inventory were
reasonably estimable prior to the date of Buyer’s Report.
69 Additionally, GAAP requires the recognition of the effects of subsequent events to the extent they provide additional evidence about

conditions that existed at the date of the balance sheet (See ASC 855-10-25-1).
70 Amounts shown below only include losses to the extent Seller did not accept reserve adjustments on these items. For example, Buyer

identified $49,367 in losses related to destroyed items prior to October 20, 2017, but Seller had accepted reserve adjustments for items
with losses of $33,278. As such, I only included additional losses of $16,089 related to items for which Seller did not accept adjustments.
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      1. Losses related to inventory destroyed prior to October 20, 2017: $16,089
      2. Losses related to items with disputed ownership by Gemtech:71 $ 9,633
      3. Losses for garage sale items:                                    $16,817
         Total                                                            $42,539


Stillwood Inventory

As it relates to the Stillwood Inventory, I considered whether Buyer’s proposed adjustments totaling $102,14472
to increase the reserve for this inventory as per the table below should be included in the calculation of
Working Capital.

                                                    Stillwood Inventory Summary

                                                                                           Seller     Remaining
                                                   Seller's      Buyer's       Disputed
                                                                                          Accepted     Disputed
                                                   Position      Position      Amount
             Stillwood Inventory                                                         Adjustment Amount
             Stillwood Brass                $         100,315 $         -   $ (100,315) $        -    $ (100,315)
             Stillwood Packaging                          150           -          (150)         -           (150)
             Stillwood Powder                             277           -          (277)         -           (277)
             Stillwood Projectiles                      1,402           -        (1,402)         -         (1,402)
             FGI @ Stillwood 187 gr 300 BLK            98,863        35,852    (63,011)      (63,011)         -
             Total                          $         201,007 $      35,852 $ (165,155) $ (63,011) $ (102,144)



While Buyer argues that it does not expect to get any benefit from the remaining Stillwood Inventory (and
therefore valued Stillwood Brass, Packaging, Powder and Projectiles at $0), Buyer also presents evidence in its
Rebuttal Submission to support a value of $40,600 for Stillwood Brass. Buyer’s arguments, taken together,
allege two disputed issues: 1) the quantity of inventory, and 2) the estimated value per unit of inventory. These
two issues are addressed separately below.

I first evaluated the evidence presented to me supporting the remaining quantity of brass on hand at Stillwood
as of the Closing Date. Seller asserts that there were 418,249 pieces of brass in remaining inventory,73 however,
I observed that Seller’s calculation included an estimate (e.g., 150,000 “Brass Pieces Shipped to Stillwood
(Estimated)”74). Conversely, I found the amount of pieces of brass on hand as of the Closing Date as presented
by Buyer of 378,00075 pieces to be more reliable because: (1) it was based on a third party source which held the
inventory; and (2) the third party indicated the quantities were “exact”.76

I then considered the net realizable value per unit as estimated by both Buyer and Seller. I observed that Buyer’s
estimate is based on a value per unit provided by Mr. Kratky which he indicated to be an “[estimation] and open to

71 Items with disputed ownership includes items described as “Part of the GSL dispute. Sent to Latka”, “Shipped to Ron Martinez off of

Gemini book” and “Actually Owed by Kel Whalen” (See “Reserve v. Losses Incurred” tab included in the file “Request 4 (a) Copy of
Gemtech Inventory Working Capital – GT File v4.xlsx”). I found that it was reasonable that these losses would have been known or
knowable as of the date of Buyer’s Report.
72 Buyer also proposed an additional upward adjustment of $40,600 to Stillwood Brass in its January 18th Letter, which is addressed in

Disputed Item #3 of this determination letter (See page 14).
73 Seller’s Opening Submission, pg. 12
74 Id.
75 378,000 is the sum of 322,000 units of 300BLK Brass Casings plus 56,000 units of 300BLK 110 TAC-TX AMMO.
76 Schedule 1 to Buyer’s Rebuttal Submission. Mr. Kratky’s email is dated November 13, 2017.
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interpretation”77 and that Buyer did not provide any other analysis or support for this value. In the absence of
any compelling evidence supporting the net realizable value of Stillwood Brass presented by Buyer, I did not
find the value assigned by Mr. Kratky to be reliable, and therefore considered Seller’s value per unit to be the
more reliable indicator of net realizable value. Seller’s Opening Submission indicates that the estimated value of
Stillwood Brass is $100,315, which equates to a value of $0.24 per unit (rounded) based on a quantity of 418,249
units as of the Closing Date.78 Accordingly, I found in favor of Seller in the amount of $90,662 based on the
378,000 pieces on hand as of the Closing Date multiplied by $0.24 per unit and I ruled in favor of Buyer for the
remaining $9,654 calculated based on 40,249 units79 (the additional units included in Seller’s calculation)
multiplied by $0.24 price per unit.

As it relates to Stillwood Packaging, Powder and Projectiles, I found that neither party articulated a position as
to why the net realizable value of this inventory was less then cost. As such, I did not find sufficient evidence to
support Buyer’s adjustment to this inventory of $1,829, and have ruled in favor of Seller for this portion of the
Stillwood Inventory.

2. Inventory Existence: Parts & Pieces Inventory

This Disputed Item relates to whether an adjustment to the carrying value of inventory listed in Exhibit 10 to
Seller’s Opening Submission (“Parts & Pieces Inventory”) in the amount of $168,946 should be included in the
calculation of Working Capital (the “Parts & Pieces Adjustment”). Buyer asserts that this inventory should be
excluded from the calculation of Working Capital, while Seller asserts it should be included. The positions of
each Disputing Party are summarized below:

Seller’s Position

Seller argues that the Buyer’s Parts & Pieces Adjustment should not be included in the determination of
Working Capital, in part, based on the following:

           o   Seller states that the Company’s historical practice from 2016 through the Closing Date was to
               account for Parts & Pieces Inventory purchases by “placing them in the physical inventory counts
               and then costing them when they were used.”80
           o   Seller asserts in its Opening Submission that Parts & Pieces Inventory was located offsite, and was
               left out of the physical inventory count performed by Buyer.81 Seller also states that Buyer
               provided no proof that these items were previously expensed, which refutes Buyer’s statement that
               “Seller has represented that these parts have no future value.”82
           o   Seller subsequently stated in its response to the Settlement Accountant’s First Information
               Requests that “these items were likely ran through the P/L accounts,” but they are inventory items
               that have value.83 Seller also asserts that the Parts & Pieces Inventory are new inventory which has
               historically been used in warranty repairs. Seller states that Parts & Pieces Inventory cannot be used
               inventory as there would be a large liability due to the potential for exploding silencers.84


77 Id.
78 Seller’s Opening Submission, pg. 12, Ex. 9 to Seller’s Opening Submission
79 Calculated as 418,249 units (from Seller’s calculation) less 378,000 units (as indicated by Mr. Kratky in Schedule 1 to Buyer’s Rebuttal

Submission).
80 Seller’s Response to the Settlement’ Accountants’ First Information Requests, pg. 6
81 Seller’s Opening Submission, pg. 12
82 Id.
83 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 6
84 Seller’s Response to the Settlement Accountants’ Second Information Requests, pg. 3
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Buyer’s Position

Buyer argues that the Parts & Pieces Adjustment should be included in the determination of Working Capital,
in part, based on the following:

           o   Seller expensed $168,946 in Parts & Pieces Inventory prior to the Closing Date, therefore
               representing that these parts have no future value. If these parts did have future value, they would
               have been capitalized in inventory and included in the beginning working capital inventory
               calculation.85
           o   Based on communication with Mark Thompson (former Gemtech CFO), Buyer believes that Parts
               & Pieces Inventory was used in repairs and research and development. Therefore, these items were
               not used in the assembly of finished goods or available for part sales.86 Buyer further states that
               these items continue to be used in the R&D process, and will never be used in the manufacturing
               process, as they are heavily used.87


Settlement Accountants’ Determination

I find in favor of Buyer that the Parts & Pieces Adjustment totaling $168,946 should be included in the
calculation of Working Capital as part of the Purchase Price.

As previously explained on page 8 of this determination, I found that Working Capital, which includes
Inventory, is required to be calculated:
        (1) including only the Company’s accounts receivable and inventory minus accounts payable
        (2) in a manner consistent with the methodologies applied as of December 31, 2016, and;
        (3) in accordance with GAAP, with inventory recorded at the lower of cost or market.

Accordingly, I evaluated the Parts & Pieces Adjustment in the context of the above criteria.

Step 1 – Includes only Accounts Receivable, Inventory and Accounts Payable
The Parts & Pieces Adjustment relates to the recognition of inventory. The definition of Working Capital
includes both accounts receivable and inventory. As such, I found that the Parts & Pieces Adjustment, to the
extent it meets the GAAP definition of inventory, is included in the definition of Working Capital and therefore
meets the first criteria to be included as Working Capital.

Step 2 – Consistent with methodologies as applied at December 31, 2016

I then evaluated whether the Parts & Pieces Adjustment met the next part of the definition of Working Capital
(i.e., Part 2 per the Working Capital requirements above). In making my evaluation of whether this criterion was
met, I first considered what methodologies were applied by the Company in the calculation of inventory as of
December 31, 2016. I found that Seller’s description of the Company’s past practice of accounting for Parts &
Pieces purchases by “placing them in the physical inventory counts and then costing them when they were
used”88 was not clear as to whether the Company kept Parts & Pieces Inventory on its balance sheet, or if it
expensed these items. Seller also indicated that the items included in the Parts & Pieces Adjustment “were likely
ran through the P&L accounts”89 prior to the Closing Date, and did not indicate that this inventory was
included in the inventory accounts as of December 31, 2016. Based on the explanations provided by Seller, I

85 Buyer’s Opening Submission, pg. 4
86 Buyer’s Response to the Settlement Accountants’ First Information Requests, pg. 4
87 Buyer’s Response to the Settlement Accountants’ Second Information Requests, pg. 3
88 Seller’s Response to the Settlement Accountants’ First Information Requests, pg. 6
89 Id.
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found that Seller did not provide compelling evidence that the Company’s past practice was to account for
Parts & Pieces Inventory in the inventory accounts on its balance sheet.

Step 3 – In accordance with GAAP at the lower of cost market
In order to evaluate whether the Company’s methodology for measuring Parts & Pieces Inventory as of the
Closing Date was consistent with GAAP, I considered the applicable GAAP guidance with respect to
recognition and measurement of inventory and research and development expense.90

While Seller asserts that the Parts & Pieces Inventory was new inventory which is used in warranty repairs,91 I
found that this statement was inconsistent with other evidence presented to me including: (1) Seller’s
description of these items in the Company’s Report, which describes these items as “R&D Parts Inventory” and
“engineering R&D parts inventory”;92 (2)Mark Thompson’s (former CFO of the Company) statement that this
inventory was previously used in the R&D process; and (3) these items had not been set up in Quickbooks, and
therefore likely had been expensed when it was used in the R&D process.93 I also found that after the Closing
Date, Buyer determined that these items were used inventory that was not saleable based on a physical
inspection.94

Based on the above, I found that the evidence presented supports that the Parts & Pieces Adjustment related to
used parts utilized in the research and development process and therefore should not be included in inventory.
Accordingly, since the Parts & Pieces Adjustment did not meet Step 2 or 3 above, I found in favor of Buyer
that the Parts & Pieces Adjustment of $168,946 should be included in Working Capital (i.e., that the Parts &
Pieces Inventory should not be recognized in Working Capital).


3. January 18th Letter Adjustment: Net Accounts Receivable, Suppressors for Sale, Stillwood
   Ammunition, Accessories, Eagle 22 LR Ammunition

This Disputed Item relates to whether additional adjustments of $146,726 that were asserted by Buyer in a letter
dated January 18, 2018 (the “January 18th Letter Adjustment”) should be included in the calculation of Working
Capital. Buyer argues that these additional adjustments should be admissible pursuant to the Contract, and
Seller argues that these adjustments were submitted after the due date prescribed in Section 1.4 of the Contract
and should be excluded from the Disputed Amounts and therefore excluded as an adjustment to Working
Capital. The positions of each Disputing Party are summarized below:




90 ASC 330 (Inventory) requires the recognition of inventory at the lower of cost or market on the balance sheet (discussed on page 9 of

this letter), while ASC 730 (Research & Development) requires that research and development costs be charged to expense when incurred
(See ASC 730-10-25-1).
91 Seller’s Response to the Settlement Accountants’ Second Information Requests, pg. 3
92 Appendix C to Seller’s Opening Submission, pgs. 11 and 39 – 45.
93 Buyer’s Rebuttal Submission, pg. 4
94 Buyer’s Response to the Settlement Accountants’ Second Information Requests, pgs. 2 – 3, Buyer’s Response to the Settlement

Accountants’ First Information Requests, pg. 2
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                                         Disputed Item #3: January 18th Letter Adjustment

                                                                        Buyer's     Buyers'     Additional
                                                          Seller's
                                                                       Jan. 2nd    Jan. 18th    Disputed
                                                          Position
                       Disputed Item                                   Position    Position      Amount
                                                             [a]         [b]          [c]      [d]=[c]-[b]

                        3.a. Suppressors for Sale         $1,094,665 $ 960,633 $ 996,909 $            36,277
                        3.b. Stillwood Ammunition            137,996     35,852     76,452            40,600
                        3.c. Eagle 22 LR Ammunition              -          -        3,657             3,657
                        3.d. Accessories                     879,156    879,156    889,656            10,500
                        3.e. Net Accounts Receivable       1,075,488 1,075,488     837,729          (237,759)
                       Total                              $3,187,305 $2,951,129 $2,804,403 $        (146,726)

                       Notes:
                       Negative amounts presented under Disputed Amount represent the amount of Buyer's
                       proposed decrease to Working Capital. Positive amounts presented under Disputed Amount
                       represent the amount of Buyer's proposed increase to Working Capital.


Seller’s Position
Seller argues that the January 18th Letter Adjustment should not be included in the determination of Working
Capital, in part, based on the following:

•    Seller asserts that the Contract includes a contractually agreed upon time frame for due dates of both
     Buyer’s and Company’s Reports. Pursuant to Section 1.4 of the Contract, Buyer should have delivered
     Buyer’s Report on October 6, 2017, but was granted an extension to October 20, 2017. Subsequently, Seller
     delivered Company’s Report on December 4, 2017, and Buyer delivered its objections to Company’s
     Report on January 2, 2018. Nowhere in the Contract does it state that Buyer can submit a second Buyer’s
     Report after the 60-day period.95
•    Furthermore, many of the adjustments are based on “post-closing events and decisions that occurred after
     the fact and are not relevant to the Working Capital calculation as of the Closing Date.”96

Buyer’s Position
Buyer argues that the January 18th Letter Adjustment should be included in the determination of Working
Capital, in part, based on the following:

•    Buyer asserts that there is nothing in the Contract that explicitly precludes additional adjustments to
     Working Capital after the submission of Buyer’s Report, and that the parties could have easily added such a
     provision but chose not to do so.97 Moreover, the facts underlying the additional adjustments were not
     known at the time Buyer submitted Buyer’s Report due to the fact that Seller’s books and records “were in
     total disarray.”98
•    Buyer timely submitted Buyer’s Report within the timeframe specified by the APA, and the APA does not
     preclude the parties from supplementing its timely filed working capital calculations.99




95 Seller’s Opening Submission, pg. 12
96 Seller’s Rebuttal Submission, pg. 5
97 Buyer’s Opening Submission, pg. 5
98 Buyer’s Opening Submission, pg. 5 – 6, Buyer’s Rebuttal Submission, pg. 4
99 Buyer’s Rebuttal Submission, pg. 4
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      Settlement Accountants’ Determination
      I find in favor of Seller that the January 18th Letter Adjustment of $146,726 should not be included in the
      calculation of Working Capital as part of the Purchase Price. In making this determination, I considered Section
      1.4 of the Contract, which states, in part

      “As soon as practical (and in no event later than 60 days after the Closing Date), Buyer shall cause to be prepared and delivered to
      the Company…(ii) a written report (the “Buyer’s Report”) that includes a calculation of the actual Working Capital and, on the
      basis of the foregoing, the Purchase Price, including such schedules and data as may be appropriate to support such calculations.”

      I found that Sections 1.4 and 1.5 of the Contract, which are consistent with other purchase agreements I have
      reviewed, are clear that the Buyer’s Report, which includes its calculation of Working Capital, is to be delivered
      by Buyer to the Company within 60 days after the Closing Date (which the parties agreed to extend to October
      20, 2017) and that after submission of the Buyer’s Report, the Buyer is limited to objecting to the calculations
      included in the Company’s Report. In addition, I observed that Buyer objected to the Company’s Report on
      January 2, 2018 and did not provide any further adjustments to Buyer’s calculation of Working Capital at that
      time. Accordingly, I did not find a basis in the Contract for the Buyer to provide further adjustments to its
      calculation of Working Capital after submission of the Buyer’s Report (and even if the Contract provided for
      such, Buyer failed to make such adjustments on January 2, 2018, which was the latest opportunity for Buyer to
      provide objections to Company’s Report).


IV.       CONCLUSION

      The amounts below summarize the financial impact of my findings described throughout this report.

                                                                                                           Settlement Accountants' Determination:
                                                                           Disputed Amount               In Favor of Seller           In Favor of Buyer
            Disputed Item
            (1) Inventory Valuation Adjustment                             $          (272,716)     $                (220,523)    $               (52,193)
            (2) Parts & Pieces Adjustment                                             (168,946)                           -                      (168,946)

            Disputed Amount                                                $          (441,661)     $               (220,523)     $              (221,139)

            (3) January 18th Letter Adjustment                                        (146,726)                      (146,726)                        -
            Additional Disputed Amount                                     $          (146,726)     $                (146,726)    $                   -

            Total of Disputed Amount and Additional Disputed Amount        $          (588,387)      $              (367,249)     $              (221,139)

            Notes:
            Negative amounts presented under Disputed Amount represent the amount of Buyer's proposed decrease to Working Capital.



      Pursuant to Section 1.5(b) of the Contract, the costs and expenses of the services of the Settlement
      Accountants shall be paid by the Company if (i) the difference between (A) the Purchase Price resulting from
      the determinations of the Settlement Accountants, and (B) the Purchase Price resulting from the determinations
      set forth in the Company’s Report, is greater than (ii) the difference between (A) the Purchase Price resulting
      from the determinations of the Settlement Accountants, and (B) the Purchase Price resulting from Buyer’s
      calculations as set forth in the deliveries pursuant to Section 1.4 of the Contract; otherwise, such costs and
      expenses shall be paid by Buyer.

      In determining the fee allocation between the Disputing Parties, I did not include Disputed Item #3 (the
      January 18th Letter Adjustment) in this calculation because Section 1.5(b) states that only the Purchase Price
      resulting from Company’s Report and Buyer’s calculations set forth in the deliveries pursuant to Section 1.4 of
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the Contract (i.e., Buyer’s Report) are to be used in the allocation of fees. As such, I calculated the fee allocation
as follows:

                                   Settlement Accountants' Fee Allocation Per §1.5 of Contract

                (A) Purchase Price resulting from Settlement Accountants' Determination                $ 11,256,985
                (B.1) Purchase Price resulting from Company's Report                                     11,478,124
                (C) Difference between (A) and (B.1)                                                   $    221,139

                (A) Purchase Price resulting from Settlement Accountants' Determination                $ 11,256,985
                (B.2) Purchase Price resulting from Buyer's calculations per §1.4 of Contract            11,036,462
                (D) Difference between (A) and (B.2)                                                   $    220,523

             Notes:
             - Purchase Prices resulting from the Company's Report and Buyer's calculations were calculated by taking the
             excess Working Capital from the Company's Report (Appendix C to Seller's Opening Submission) and
             Buyer's Report (Appendix B to Seller's Opening Submission) over $1,689,000 plus $10,160,000, pursuant to
             §1.2 of the Contract.

             - Item (A) includes 1) $10,160,000, plus 2) Accounts Receivable of $1,075,488, plus 3) Inventory of
             $2,959,559, less 4) Accounts Payable of $1,249,062 and less 5) $1,689,000.



Because the difference between the Purchase Price resulting from the determinations of the Settlement
Accountants and the Purchase Price resulting from the determinations set forth in the Company’s Report (“C”
above) was greater than the difference between the Purchase Price resulting from the determinations of the
Settlement Accountants, and the Purchase Price resulting from Buyer’s calculations as set forth in the deliveries
pursuant to Section 1.4 of the Contract (“D” above), I found that the Settlement Accountants’ fees of
$66,815.28 are to be paid by the Company.

The Disputing Parties are each responsible for payment of half of the total fees and expenses to Grant
Thornton, and will settle amongst themselves the allocation of fees and expenses based on the Settlement
Accountants’ determination.

This report is intended solely for the use of the addressed parties and may not be disseminated to any third
party without Grant Thornton’s or my prior written consent.

I appreciate the opportunity to work with you and to be of your service in the matter.

Sincerely,




Charles Blank

Managing Director

Attachments:
Appendix A, Relevant Defined Terms
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                                            Appendix A
                                           Relevant Defined Terms


“Assets” means all of the tangible and intangible assets attributable to or Used by the Company in the
Business, except the Excluded Assets.100

“Business” means (i) the design, manufacturing, and sale of silencers and suppressors for firearms (but, for the
avoidance of doubt, excluding integrally suppressed firearms), (ii) the design, manufacturing, and sale of silencer
and suppressor accessories, and (iii) the sale of Company-branded ammunition.101

“Closing Date Balance Sheet” means a balance sheet for the Business and Assets acquired hereunder dated
as of the Closing Date.102

“GAAP” means U.S. generally accepted accounting principles.103

“Inventory” means all goods, merchandise, and other personal property owned and held for sale, and all raw
materials, works-in-process, materials, and supplies of every nature which contribute to the finished products of
the Company in the ordinary course of its business, specifically excluding, however, damaged, defective, or
otherwise unsaleable items.104

“Purchase Price” means the sum of (i) Ten Million One Hundred Sixty Thousand Dollars ($10,160,000), plus
(ii) the excess, if any, of the Company’s Working Capital as of the Closing Date over $1,689,000, minus (iii) the
excess, if any, of $1,689,000 over the Company’s Working Capital as of the Closing, subject to further
adjustment as provided in Section 1.6, Section 7.3, and Section 8.4.105

 “Working Capital” means the remainder, if any, of (i) the Company’s accounts receivable and inventory,
minus (ii) the Company’s accounts payable, in each case calculated on a basis consistent with the methodologies
used for the calculation of working capital as of December 31, 2016 as set forth on Schedule 10.27.106




100 Contract, §1.1(xii)
101 Contract, §10.4
102 Contract, §1.4
103 Contract, §10.12
104 Contract, §10.15
105 Contract, §1.2
106 Contract, §10.27
